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                     UNITED STATES DISTRICT
                   COURT NORTHERN DISTRICT OF
                   FLORIDA PENSACOLA DIVISION


PEN AMERICAN CENTER, INC., ET
AL.,

     Plaintiffs,
                                      Case No. 3:23-cv-10385-TKW-ZCB
            v.

ESCAMBIA COUNTY SCHOOL
BOARD,

     Defendant.

       BRIEF OF AMICUS CURIAE LAW PROFESSORS IN
      OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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                                                                 Exhibit B
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            INTRODUCTION AND STATEMENT OF INTEREST

      The Amici are First Amendment scholars who have an interest in both the

freedom of expression and access to information. Amici write to caution the court

against adopting the aggressive, unprecedented interpretation of the government

speech doctrine proffered in the Motion to Dismiss filed by Defendant the

Escambia County School Board (D.E. 28) to justify the politically motivated

manipulation of the contents of public school libraries. This view of government

speech doctrine takes it beyond its limited scope and undermines other First

Amendment precedents; the court should thus reject Defendant’s invocation of

government speech to insulate its unconstitutional actions from judicial review.

Because Plaintiffs have the better of the constitutional arguments, the court should

deny Defendant’s motion to dismiss.

      Amici raise two primary points. First, the government speech doctrine must

remain narrow in scope; Defendant’s interpretation would expand it beyond what

the Supreme Court has counseled. And the government speech doctrine cannot apply

within the school library context given the Supreme Court’s decision in Board of

Education, Island Trees Union Free School District No. 26 v. Pico, 457 U.S. 853

(1982).

      Second, other First Amendment doctrines provide a better mode of analysis

for school libraries. Contra Defendant’s assertions, public forum doctrine — which



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is more sophisticated than Defendant’s characterizations — offers enough flexibility

to apply to school libraries. Alternatively, the Supreme Court’s decision in Legal

Services Corp v. Velazquez provides a non-public forum framework better suited to

the school library context than the government speech doctrine.

      Finally, Amici write to briefly rebut the position of the State of Florida, which

filed an amicus supporting Defendant’s motion. (D.E. 31-1). Florida relied heavily

upon the Supreme Court’s plurality opinion in United States v. American Library

Association — an opinion that in actuality supports Plaintiffs’ arguments.

      In 2017, Justice Alito noted for a majority in Matal v. Tam that the government

speech doctrine, although “important – indeed, essential,” is “susceptible to

dangerous misuse.” 582 U.S. 218, 235 (2017). He called for the exercise of “great

caution before extending our government-speech precedents.” Id. Such reticence is

warranted. The government speech doctrine can enable states to manipulate the

speech of publicly funded institutions that distribute or produce expression, even as

those institutions purport to be more than mere vessels for official messaging.

Applying the government speech doctrine to school libraries would create a

dangerous incompatibility with the nature and purpose of those libraries. The court

should therefore reject the Defendant’s government speech claims to avoid a

constitutional morass.




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I.     The Government Speech Doctrine Is Narrow in Scope and Should Not
       Encompass School Libraries

       A. The Supreme Court Has Rejected Expansive Constructions of Government
          Speech

       The government speech doctrine serves an important yet narrow purpose. The

doctrine allows government actors and institutions to speak to advance state policies

or otherwise to convey the views of the state. See, e.g., Tam, 582 U.S. at 234 (“When

a government entity embarks on a course of action, it necessarily takes a particular

viewpoint and rejects others. The Free Speech Clause does not require government

to maintain viewpoint neutrality when its officers and employees speak about that

venture.”); Walker v. Sons of Confederate Veterans, 576 U.S. 200, 207–208 (2015)

(“[I]t is not easy to imagine how government could function if it lacked th[e]

freedom” to select the messages it wishes to convey”) (quoting Pleasant Valley

Grove v. Summum, 555 U.S. 460, 468 (2009)). But while the doctrine allows the

government to speak to “promote a program, to espouse a policy, or to take a

position,” as Justice Breyer observed in Walker, that ability is limited. 576 U.S. at

209. Defendant’s arguments would effectively nullify those limits.

       Importantly, the government speech doctrine only applies to state programs in

which the government conveys an official message that the public would recognize

as such. Walker likely serves as the outer bounds of the doctrine, as Justice Alito

observed in Tam. See Tam, 582 U.S. at 238 (“Walker . . . likely marks the outer



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bounds of the government-speech doctrine”). In Walker, the Court determined that

Texas’ specialized license plate designs were government speech. Although Texas

commissioned private parties to design the plates and had approved a wide array of

design ideas and topics over the years, the Court held that the designs ultimately

“‘deliver[ed] a government-controlled message.’” Walker, 576 U.S. at 217, quoting

Summum, 555 U.S. at 468. The Walker Court relied partly on the facts that “license

plates have long been used by the States to convey state messages,” that they “are

often closely identified in the public mind’ with the State,” and that the state retained

“direct control over the messages conveyed on its specialty plates.” Id. at 210–13.

      Those dynamics are not at play in this case, making government speech an

inapt fit. The Plaintiffs’ brief extensively explores Tam and Cambridge Christian v.

Florida High School Athletic Association, a recent Eleventh Circuit case on

government speech. (D.E. 40 at 27–35). Amici support Plaintiffs’ interpretation of

those cases and write separately to emphasize why expanding government speech

contravenes the Supreme Court’s direct command.

      Justice Alito’s description of Walker in his Tam opinion acknowledges two

core aspects of government speech: that it only applies in limited circumstances, and

that it does not apply outside of settings in which the government seeks to convey

its own message. School libraries do not qualify under this framing of government

speech; Defendant’s attempt to expand the doctrine to cover such libraries cannot



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succeed. The notion that such libraries exist to carry official messaging is profoundly

antithetical to their very nature and purpose. The court should therefore reject

Defendant’s invocation of government speech to justify its unconstitutional

practices.

      B. The Supreme Court’s Pico Decision Demonstrates Why Government
         Speech Should Not Apply to School Libraries

      The Supreme Court has spoken precisely on how courts should evaluate

school libraries in First Amendment cases. In Pico a plurality of the Supreme Court

concluded that school boards could not, given the nature and purpose of school

libraries, order books removed from library shelves in order to deny students “access

to ideas” with which board members disagreed. 457 U.S. at 871–72. Pico remains

the only Supreme Court case to date to consider the First Amendment implications

of public-school library book removals. Its reasoning thus provides instructive

guidance as to why government speech should not apply to school libraries.

      The Pico plurality “acknowledged that public schools are vitally important in

the preparation of individuals for participation as citizens, and as vehicles for

inculcating fundamental values necessary to the maintenance of a democratic

political system.” Id. at 864 (quotation marks omitted). To fulfill this aspect of the

public-school mission, school boards require substantial leeway over curricular and

even library content. Id. Yet this mission also requires First Amendment limitations

as to the scope of school board control over library book removals.


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      Pico’s reasoning rests on the Supreme Court’s foundational opinion in West

Virginia Board of Education v. Barnette, which held as to public schools: “‘That they

are educating the young for citizenship is reason for scrupulous protection of

Constitutional freedoms of the individual, if we are not to strangle the free mind at

its source and teach youth to discount important principles of our government as

mere platitudes.’” Id., quoting West Virginia Board of Education v. Barnette, 319

U.S. 624, 637 (1943). The public-school library plays an especially important role

in educating children about free thought and encouraging their intellectual growth.

See id. at 868–69 (“‘[S]tudents must always remain free to inquire, to study and to

evaluate, and to gain new maturity and understanding.’ The school library is the

principal locus of such freedom”), quoting Keyishian v. Board of Regents, 385 U.S.

589, 603 (1967).

      It is true that Pico produced only a plurality opinion as well as separate

concurrences and dissents. Indeed, in 2009 the Eleventh Circuit deemed Pico “a non-

decision so far as precedent is concerned.” American Civil Liberties Union of

Florida v. Miami-Dade County School Board, 557 F.3d. 1177, 1200 (11th Cir. 2009).

But Miami-Dade County School Board did not foreclose adopting the Pico standard.

The Eleventh Circuit simply left the question open because it concluded that the

book removal at issue was not ideologically motivated and thus passed muster under

Pico. Id. at 1227. The court found that the book removal stemmed from factual



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inaccuracies; thus, even assuming Pico applied to the school library context, it did

not prohibit the challenged removal. Id. at 1207 (“Under the Pico standard we are

applying, the Board did not act based on an unconstitutional motive.”).

      The Eleventh Circuit’s decision allows this court to treat Pico, as the Fifth

Circuit has done, as “useful guidance in determining the constitutional implications

of removing books from a public school library.” Campbell v. St. Tammany Parish

School Board, 64 F.3d 184, 189 (5th Cir. 1995). Judged purely for its persuasive

force, Pico provides the correct standard. It strikes the most sensible balance among

the practical imperatives of school board control, the need for public schools to train

future leaders, and the “special role of the school library as a place where students

may freely and voluntarily explore diverse topics.” Id. at 190. And while Pico’s

critics (including Defendant and its amicus) assert that its plurality opinion cannot

stand for much, they neglect to acknowledge that the Supreme Court has not

repudiated its logic in the intervening forty years despite ample opportunities to do

so. Denigrating Pico as valueless thus ignores its careful consideration of competing

interests that school libraries must balance.

      At minimum, the government speech doctrine has no place in public school

library book removal decisions; applying it in this setting, as Defendant urges, would

fly in the face of Pico’s guidance. Indeed, it would run counter not only to the Pico

plurality, but also to the view of a majority of the Justices in Pico that school boards



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cannot constitutionally remove library books in a “‘narrowly partisan or political

manner.’” Board of Education, Island Trees Union Free School District No. 26 v.

Pico, 457 U.S. 853, 907 (Rehnquist, J., dissenting) (quoting the plurality opinion to

this effect and “cheerfully conced[ing] the point”).

        The notion that public school libraries are platforms for official government

messaging is anathema to libraries’ very nature. It is also incompatible with a key

tenet of the government speech doctrine: the idea that democratic accountability will

prevent the doctrine’s abuse. As the Supreme Court stated in Walker, “it is the

democratic electoral process that first and foremost provides a check on government

speech.” Walker, 576 U.S. at 207. Yet this logic assumes a citizenry that can take in

and critically evaluate evidence and ideas. Indeed, the Walker Court elaborated that

“the Free Speech Clause helps produce informed opinions among members of the

public, who are then able to influence the choices of a government that, through

words and deeds, will reflect its electoral mandate.” Id. This elegant plan works only

if the government does not seek — or is not restrained by the judiciary should they

attempt — “to strangle the free mind at its source.” West Virginia State Board of

Education v. Barnette, 319 U.S. 624, 637 (1943).

II.     Other First Amendment Doctrines Exist to Provide a Superior
        Framework for Denying Defendant’s Motion to Dismiss

        Rejecting government speech does not leave this Court without a doctrinal

frame to evaluate Defendant’s arguments. Amici describe below two alternate


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characterizations of school libraries that provide a better fit within First Amendment

doctrine than government speech; both demonstrate why the Court should deny

Defendant’s motion to dismiss.

      Most obviously, forum doctrine provides a better fit for evaluating school

library restrictions. In Summum, the Supreme Court held that government speech

does not apply to government-created forums — even designated public forums and

limited public forums. Summum, 555 U.S. at 469–70. In such forums, courts give

states the necessary leeway to contain the forum’s scope. For example, states may

impose topical restrictions on speech in such forums, so long as those restrictions

are reasonable in light of the forum’s purpose. See Cornelius v. NAACP Legal

Defense and Educational Fund, 473 U.S. 788, 806, quoting Perry Education

Association v. Perry Local Educators Association, 460 U.S. 37, 49 (1983) (“Implicit

in the concept of the nonpublic forum is the right to make distinctions in access on

the basis of subject matter and speaker identity.”). What states may not do, however,

is to limit speakers in ways that are viewpoint-based or unreasonable given the nature

of the forum. Cornelius, 473 U.S. at 806 (“The government violates the First

Amendment when it denies access to a speaker solely to suppress the point of view

he espouses on an otherwise includible subject.”).

      Defendant’s actions more comfortably fit within the forum doctrine than

government speech. To promote the educational goals described in Pico and



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Barnette, public school libraries must avoid viewpoint-based discrimination, but

they may make reasonable pedagogical choices. These dynamics recall those

described in Cornelius and Summum.

      Alternatively, the Supreme Court has opined on state programs that do not

necessarily qualify as forums but nevertheless remain protected from extensive

government interference. Justice Kennedy’s opinion in Legal Services Corp v.

Velazquez provides instructive guidance here: Velazquez invalidated a statutory

restriction that barred Legal Services Corporation (LSC) attorneys from making

certain arguments — specifically, from challenging the constitutionality of state or

federal welfare laws or the consistency of state welfare laws with federal statutes —

when they carried out federally funded legal representation. 531 U.S. 533 (2001).

      Velazquez did not describe the LSC as a forum akin to Cornelius, but the

statutory restrictions still ran afoul of the First Amendment. Justice Kennedy’s

opinion held that even where a state program or institution is not labeled a “forum,”

the state may not “use an existing medium of expression” to carry it out “in ways

which distort [the medium’s] usual functioning.” Id. at 543. The LSC restrictions

altered “the traditional role of [] attorneys,” prohibiting them from analyzing legal

issues that they might otherwise pursue and forcing them to “truncate [their]

presentation to the courts.” Id. at 544–45. Ideologically motivated public school

library book removals present a similar situation to the LSC restrictions in Velazquez.



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Such removals fly in the face of libraries’ traditional roles — educating students and

creating an informed citizenry. Velazquez cautions against such distortion.

       Given alternative First Amendment frameworks, this Court can reject

Defendant’s motion without fear of finding itself doctrinally adrift. Both the forum

doctrine and the Velazquez program analysis provide ample support for Plaintiffs’

First Amendment claims.

III.   U.S. v. American Library Association Supports Plaintiffs’ and Amici’s
       Framing of the Purpose of School Libraries

       The State of Florida, in its amicus brief supporting Defendant, argues that the

above-mentioned constitutional frameworks cannot apply to school libraries. (D. E.

31 at 5). Amici disagree with Florida’s contentions and its reliance upon United

States v. American Library Association, 539 U.S. 194 (2003) (“ALA”). Close reading

of ALA shows that its reasoning supports Plaintiffs’ and Amici’s arguments regarding

the proper standard for evaluating school libraries.

       Florida invokes language in ALA’s plurality opinion that “forum analysis and

heightened judicial scrutiny… are also incompatible with the discretion that

[government-run] libraries must have to fulfill their traditional missions.” (D.E. 31-

1 at 5), quoting ALA at 205. Yet this statement tells us nothing more than that certain

public expressive institutions — including public libraries – are not traditional

public forums, and that they must engage in content-based decision-making to carry




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out their expressive missions. It certainly does not mean that such institutions convey

“government speech.”

      The law does not present a simple binary, whereby publicly funded forums or

expressive institutions either must welcome all comers or face no First Amendment

restrictions at all. Such a holding would be inconsistent with Cornelius and

Velazquez. Non-public forums and non-forum expressive institutions that are not

government speakers have wide leeway to make content-based expressive choices.

Perry Education Association, 460 U.S. at 49 (“Implicit in the concept of the

nonpublic forum is the right to make distinctions in access on the basis of subject

matter and speaker identity.”). What they do not possess is an unfettered power to

engage in viewpoint discrimination or otherwise to make content-based choices

incompatible with their purposes.

      Indeed, ALA actually supports Amici’s assertions regarding the purpose of

school libraries. Though ALA addressed public library restrictions, the plurality’s

description of such libraries applies to school libraries as well. Chief Justice

Rehnquist observed that public libraries “pursue the worthy missions of facilitating

learning and cultural enrichment.” ALA, 539 U.S. at 203. This necessarily entails

making content-based judgments as to which materials “have requisite and

appropriate quality.” Id. at 204 (quotation marks omitted). Making such judgments,

of course, is a very different practice from basing book removals on ideological



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opposition. The plurality opinion in Pico drew this precise distinction between

judgments based on content, including quality and pedagogical merit, and those

“exercised in a narrowly partisan or political manner.” Pico, 457 U.S. at 870. ALA

ultimately supports Amici’s position that Defendant’s motion and Florida’s

arguments cannot prevail.

                                CONCLUSION

      For the foregoing reasons, Amici urge the Court to deny Defendant’s motion

to dismiss.

                                            Respectfully submitted,

                                            SHULLMAN FUGATE PLLC

                                            /s/ Rachel E. Fugate
                                            Rachel E. Fugate
                                            Florida Bar No. 144029
                                            rfugate@shullmanfugate.com
                                            Minch Minchin
                                            Florida Bar No. 1015950
                                            mminchin@shullmanfugate.com
                                            100 N. Ashley Drive, Suite 600
                                            Tampa, FL 33602
                                            Tel: (813) 935-5098

                                            Counsel for the Amici




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                          CERTIFICATE OF SERVICE

       I hereby certify that, on this 25th day of September 2023, a true and correct

copy of the foregoing was filed with the Court’s CM/ECF system, which will

provide service to all parties.


                                             /s/ Rachel E. Fugate
                                             Counsel for the Amici




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